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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 United States of America,                   )       CASE NO. 5:13 CR 420
                                             )
                       Plaintiff,            )       JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Benjamin Suarez, et al.,                    )       Memorandum of Opinion and Order
                                             )
                       Defendants.           )



        INTRODUCTION

        This matter is before the Court upon Defendant Michael Giorgio’s Motion to Dismiss

 Counts 1, 2, 3, 4, 5, and 6 of the Superseding Indictment (Doc. 61). Also pending are a motion

 to join in the aforementioned motion filed by defendant Benjamin Suarez (Doc. 66)1 and

 Defendant Suarez Corporation Industries, Inc.s’ Motion to Join Defendant Michael Giorgio’s


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         Although the docket entry indicates that ECF 66 is a motion to join
         in this motion to dismiss, it appears that the incorrect document
         was uploaded by counsel. ECF 66 is captioned as a motion to join
         “Co-Defendant’s Motion to Dismiss Count 9 of the Superceding
         Indictment.” The Court, however, will treat ECF 66 as a motion to
         join the request for dismissal of counts 1, 2, 3, 4, 5, and 6.

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 Motion to Dismiss Counts 1, 2, 3, 4, 5, and 6 of the Superseding Indictment (Doc. 73).

 Defendants are charged with a number of violations of the Federal Election Campaign Act. The

 motions to join are GRANTED. Therefore, the ruling on the motion to dismiss applies with

 equal force to all defendants. For the reasons that follow, the motion to dismiss is DENIED.

        FACTS

        For purposes of ruling on defendants’ motion, the Court looks to the facts alleged in the

 indictment in the light most favorable to the government.

        The Superseding Indictment charges defendant, Benjamin Suarez, along with co-

 defendants Michael Giorgio and Suarez Corporation Industries, Inc. (“SCI”), with various counts

 related to “straw man” campaign contributions made by persons who worked for or were

 associated with SCI. According to the indictment, Giorgio and Suarez recruited these

 individuals and requested that they make contributions to federal election campaigns. Girogio

 and Suarez collected contribution forms and checks from these “straw donors” and sometimes

 completed the forms themselves. Giorgio and Suarez sent the forms and checks directly to the

 campaigns. The “straw donors” were told by Giorgio that SCI would reimburse them for their

 contributions. The “straw donors” were then reimbursed by SCI through payments “disguised”

 as additional salary and later as profit sharing. Once the contributions were publically exposed,

 defendants sought to conceal their conduct by attempting to require the “straw donors” to pay

 back the reimbursements.

        Defendants move to dismiss counts one, two, four, five, and six on the grounds that

 Section 441f of the Federal Election Campaign Act (“FECA”) does not criminalize the conduct

 alleged in these counts. Defendants also argue that dismissal is required with respect to count


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 three because Section 441b of the FECA is unconstitutional on its face and as applied. The

 government opposes dismissal.

        ANALYSIS

        1. Counts one, two, four, five, and six

        Defendants argue that these counts must be dismissed because Section 441f does not

 prohibit “straw man” or “conduit” contributions. According to defendant, the plain language in

 the statute proscribes the making of a contribution “in the name of another.” Here, however,

 defendants are not alleged to have directly provided a contribution by using the name of another

 person. Rather, the contributions were made by individuals in their own names. In response, the

 government argues that the plain language in Section 441f prohibits the conduct alleged in the

 superseding indictment.

        Upon review, the Court finds that the plain and unambiguous language in Section 441f

 covers the conduct alleged in the indictment. The statute provides as follows:

        No person shall make a contribution in the name of another person or knowingly permit
        his name to be used to effect such a contribution, and no person shall knowingly accept a
        contribution made by one person in the name of another person.

 2 U.S.C. § 441f.

        Defendants argue that the plain language of Section 441f “prohibits making a

 contribution by appropriating another’s name and submitting the contribution to the candidate

 using the misappropriated name.” According to defendants, reimbursing an individual for

 making a contribution in his or her own name is “not the same thing.” The government argues

 that the statute does not delineate between particular methods of contributing. According to the

 government, the statute prohibits both the “false name” contributions described by defendants, as


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 well as the type of “conduit” contributions at issue in this case. The government also argues that

 prohibiting “conduit” contributions is consistent with the purpose of the FECA.

        Although it does not appear that there is any binding Sixth Circuit precedent, both the

 Ninth and Seventh Circuits have squarely addressed this issue. See, United States v. O’Donnell,

 608 F.3d 546 (9th Cir. 2010); United States v. Boender, 649 F.3d 650 (7th Cir. 2011). In

 rejecting defendants’ current argument, these courts applied basic principles of statutory

 construction, including the concept that the words contained in a statute “will be interpreted as

 taking their ordinary, contemporary, common meaning.” Perrin v. United States, 444 U.S. 37,

 42 (1979). Both courts determined that the plain and ordinary meaning of the word

 “contribution” dictates that “straw man” contributions are prohibited by Section 441f:

        We disagree [with defendant’s argument], and today we join the Ninth Circuit in holding
        that §441f unambiguously proscribes straw man, as well as false name, contributions.
        [Defendant’s] textual argument that only the person who actually transmits funds to a
        campaign makes a contribution flies in the face of the dictionary and ordinary usage of
        the word ‘contribution.’ To ‘make a contribution’ is of course to ‘contribute.’ And to
        ‘contribute’ is to ‘give to a common supply, fund, etc;’ ordinarily, when we speak of
        someone giving a gift, we consider the giver to be the source of the gift, not any
        intermediary who simply conveys the gift from the donor to the donee.

  Boender, 649 F.3d at 660 (internal citations omitted). See also, O’Donnell, 608 F.3d at 550

 (same); United States v. Danielczyk, 788 F.Supp.2d 472 (E.D. Va. 2011), rev’d on other grounds

 683 F.3d 611 (4th Cir. 2012)(common meaning of “make” is to “cause something to exist” and

 the funding of money by the defendant is the conduct that caused the contribution to exist);

 United States v. Whittemore, 2013 WL 5236278 (D. Nev. Sept. 16, 2013)(straw donor

 contribution violates statute even where defendant had “gifted” the money to the straw donor).

        The Court finds the reasoning of these cases persuasive. The statute plainly prohibits the

 “making of a contribution” in the name of another. The Court agrees that the phrase “make a

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 contribution” encompasses situations in which a straw donor remits a contribution with the

 understanding that the straw donor will not be the ultimate payor. The “ultimate payors,” i.e.,

 defendants, are considered to have “made the contribution” as that phrase is commonly

 understood.

        Defendants also point out that other provisions of the FECA, are directed at

 “intermediary or conduit” contributions. For example, Section 441a(8) provides that, “...all

 contributions made by a person, either directly or indirectly...including contributions which

 are...directed through an intermediary or conduit...shall be treated as contributions from such

 person....” (Emphasis added). According to defendants, this language would not be necessary if

 the phrase “contributions made by a person” already included intermediary or conduit

 contributions, as those contributions would be prohibited in any event. Defendants argue that if

 the Court reads the phrase as urged by the government, then the language contained in Section

 441a(8) is superfluous. In response, the government argues that the language is not superfluous

 because not all conduit contributions are illegal. Rather, a conduit contribution does not violate

 the law provided the donor counts the contribution towards his limit and provides his own name

 in reporting the contribution. If these two conditions are satisfied, then a donor could use a

 conduit who “bundles” contributions without violating the FECA.

        Upon review, the Court agrees with the government. Once again, O’Donnell and

 Boender addressed and rejected the very argument defendant now makes:

        [Defendant’s] textual comparison to § 441a is inapt. He correctly identifies what several
        circuits have called the Russello presumption, that when Congress includes certain
        language in one provision of a statute but excludes it in another, it generally intends the
        disparate inclusion and exclusion to be meaningful. But while this is a general
        presumption, it applies with greater strength in some cases than in others: where the
        disparate provisions were ‘considered simultaneously when the language raising the

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          implication was inserted,’ the Supreme Court has found that the ‘negative implications
          raised by disparate provisions are the strongest.’ But the Supreme Court has refused to
          apply the presumption where the provision including the particular language was enacted
          several years before the less-specific provision.

 Boender, 649 F.3d at 660-61. See also, O’Donnell, 608 F.3d at 554 (noting that “the Russello

 presumption applies with limited force here because the language used in § 441f is broad rather

 than specific”). Here, Section 441f was enacted before Section 441a and, as noted by the Court

 in O’Donnell, it is broader in scope. Therefore, the Russello presumption need not be applied.

 The Court further agrees with Boender that to accept defendants’ position would “undermine the

 purpose of the statutory scheme of disclosure requirements of which § 441f forms a part by

 rendering it substantially underinclusive.” Boender, 649 F.2d at 661. Moreover, as the

 government accurately notes, the two provisions can, in fact, be read together. Section 441f

 prohibits only those “conduit” contributions where the “maker” of the contribution reports his

 own name, but the contribution is otherwise funneled through a conduit. Thus, the Court finds

 that defendants’ argument that Section 441f would render Section 441a(8) superfluous is without

 merit.

          Defendants next urge the Court to review the legislative history and the FECA’s

 enforcement history. According to defendants, the legislative history shows that at least one

 United States Senator commented during the floor debate that despite the presence of the

 language contained in Section 441f, a “loophole” existed because a “man of influence” could

 avoid the provision simply by giving his friends money to contribute to election campaigns.

 Similarly, defendants note that in at least once instance the FEC declined to follow the

 recommendation of its general counsel, who recommended an enforcement action under similar

 circumstances. On the other hand, the government argues that the comments defendants cite

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 were taken out of context. The government also argues that the legislative history shows that the

 provision was designed to prohibit the type of conduit contributions at issue in this case. The

 government points out that certain provisions of the Code of Federal Regulations reinforce the

 government’s position.

        Upon review, the Court rejects defendants’ arguments. As set forth above, the Court

 finds that the statutory language at issue is clear and unambiguous. In so doing, the Court finds

 that the plain language in the Section 441f prohibits the contributions defendants are alleged to

 have made. Because the statute is unambiguous, the Court may not look to legislative history or

 factors outside of the language itself in resolving the dispute. See, In re Comshare Inc. Sec.

 Litig., 183 F.3d 542, 549 (6th Cir.1999)(“When interpreting a statute, we must begin with its

 plain language, and may resort to a review of congressional intent or legislative history only

 when the language of the statute is not clear.”).

        For these same reasons, the Court rejects defendants’ due process challenge. Defendants

 in essence argue that the Court should apply the rule of lenity, which requires that a Court

 construe vague laws in favor of the defendants. According to defendants, the language is

 ambiguous and must be construed in favor of the defendants because a district court in the Ninth

 Circuit accepted defendants’ argument. According to defendants, this demonstrates that more

 than one reasonable interpretation of the statute is possible, rendering the statute ambiguous.

 Yet, the Ninth Circuit expressly rejected the district court’s conclusion regarding the meaning of

 the statute. Although obviously fully versed in the reasoning of the district court, the Ninth

 Circuit nonetheless found the statute to be unambiguous. In so finding, the Ninth Circuit

 implicitly rejected the argument defendants now make. Moreover, the “rule of lenity” does not


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 apply in this case because the Court finds the statutory language to be clear and unambiguous:

        Defendants insist that this court apply the rule of lenity in construing 18 U.S.C. §
         1961(1). We have no occasion to do so because the rule “only serves as an aid for
        resolving an ambiguity; it is not to be used to beget one.” Callanan v. United States, 364
        U.S. 587, 596, 81 S.Ct. 321, 5 L.Ed.2d 312 (1961). Thus, the rule of lenity “comes into
        operation at the end of the process of construing what Congress has expressed, not at the
        beginning as an overriding consideration of being lenient to wrongdoers.” Id. Where
        there is no ambiguity, as is the case here, “the rule of lenity does not come into play.”
        Turkette, 452 U.S. at 587 n. 10, 101 S.Ct. 2524.

 U.S. v. Adams, 722 F.3d 788, n.8 (6th Cir. 2013).

        Because there is no ambiguity in Section 441f, the Court will not apply the rule of lenity

 and due process is not offended.

        Based on the foregoing, the Court finds that Section 441f of the FECA extends to the

 “conduit” or “straw-man” contributions at issue in the indictment.

        2. Count three

                A. Citizens United

        In count three, the government alleges that defendants violated Section 441b’s

 prohibition on corporate contributions. The statute provides in relevant part, “It is unlawful

 for...any corporation...to make a contribution or expenditure in connection with any election to

 any political office....” 2 U.S.C. § 441b. Defendants argue that in the wake of the Supreme

 Court’s decision in Citizens United v. Federal Election Commission, 130 S.Ct. 876 (2010), the

 statute is unconstitutional. The government disagrees.

        Prior to Citizens United, the Supreme Court upheld a direct restriction on corporate

 independent expenditures of funds for political speech. See, Austin v. Michigan Chamber of

 Commerce, 494 U.S. 652 (1990), overruled by Citizens United v. Federal Election Commission,

 130 S.Ct. 876 (2010). In Austin, the Court determined that the government’s interest in

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 preventing the “antidistortion” of political speech that arises with the “immense aggregations of

 wealth that are accumulated with the help of the corporate form....” justified a ban on corporate

 expenditures involving political speech. Austin, 494 U.S. at 660. As such, the restriction did not

 violate the First Amendment. In Citizens United, the Court revisited this issue. The Court first

 noted that Buckley and Belotti, two cases decided prior to Austin, prohibited “restrictions on

 political speech based on the speaker’s corporate identity.” Accordingly, the Court “was

 confronted with conflicting lines of precedent: a pre-Austin line that forbids restrictions on

 political speech based on the speaker’s corporate identity and a post-Austin line that permits

 them.” Citizens United, 558 U.S. at 348.

        In overruling Austin, Citizens United outright rejected the antidistortion rule espoused in

 Austin. The Court determined that “[i]f the antidistortion rationale were to be accepted...it would

 permit [the] Government to ban political speech simply because the speaker is an association that

 has taken on the corporate form.” Because this rationale “interferes with the ‘open marketplace’

 of ideas protected by the First Amendment” and “permits the government to ban the political

 speech of millions of associations of citizens,” it does not withstand constitutional scrutiny.

 Therefore, the Court expressly overruled Austin:

        Due consideration leads to this conclusion: Austin should be and now is overruled. We
        return to the principle established in Buckley and Bellotti that the Government may not
        suppress political speech on the basis of the speaker’s corporate identity. No sufficient
        governmental interest justifies limits on the political speech of nonprofit or for-profit
        corporations.

 Citizens United, 558 U.S. at 365. And, as a result, “Section 441b’s restrictions on corporate

 independent expenditures are therefore invalid and cannot be applied....” Id.

        Defendants argue that after Citizens United, Section 441b’s ban on direct contributions


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  from corporations is unconstitutional. According to defendants, although Citizens United

  involved expenditures, the rationale clearly provides that no distinction can be made between an

  individual and a corporate donor for First Amendment purposes. As such, Congress cannot ban

  all corporate contributions to political candidates. The government argues that Federal Election

  Commission v. Beaumont, 539 U.S. 146 (2003) is still “good law” and that this Court is bound to

  apply it to this case.

          Upon review, defendants’ argument is rejected. In Beaumont, the Supreme Court

  addressed whether Section 441b’s ban on direct political contributions passed constitutional

  muster as applied to non-profit corporations. In upholding the statute, the Court noted that

  political contributions are “more clearly justified by a link to political corruption” and, therefore,

  Congress may place stricter regulations on political contributions as compared to corporate

  expenditures. As the Fourth Circuit recently noted:

          Direct contribution limitations...require the “lesser demand of being closely drawn to
          match a sufficiently important interest.” Beaumont, 539 U.S. at 162. The reason for this
          difference in scrutiny is clear: independent expenditures, by definition, are direct means
          by which political speech enters into the marketplace. [D]irect contributions, conversely,
          do not necessarily fund political speech but must be transformed into speech by an
          individual other than the contributor.

  United States v. Danielczyk, 683 F.3d 611 (4th Cir. 2012)(some internal citations omitted).

          According to defendants, Citizens United calls into doubt the continued validity of

  Beaumont. Defendants argue that the Supreme Court’s broad language in Citizens United

  indicates that courts cannot treat corporate speakers less favorably than individual citizens.

  Therefore, section 441b’s complete ban on corporate contributions violates the First

  Amendment. Moreover, the Court in Beaumont relied on Austin, which Citizens United expressly

  overruled. Therefore, the holding in Beaumont is fatally flawed.

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         As an initial matter, defendants’ argument wholly ignores the distinction between direct

  contributions and corporate expenditures. While Citizens United’s holding is clear, defendants

  ignore the fact that historically the Supreme Court has recognized that regulation of corporate

  expenditures is subject to a higher level of scrutiny as compared to political contributions.

  Because Citizens United involved the regulation of corporate expenditures, the Court cannot say

  that Citizens United controls the outcome here. This is especially so in that Beaumont involved

  direct contributions and is, therefore, directly on point.2 As defendants concede, a lower court is

  not permitted to find that the Supreme Court implicitly overruled itself. See, Agostini v. Felton,

  521 U.S. 203 (1997)(We reaffirm that “[i]f a precedent of this Court has direct application in a

  case, yet appears to rest on reasons rejected in some other line of decisions, the Court of Appeals

  should follow the case which directly controls, leaving to this Court the prerogative of overruling

  its own decisions.”). Because Citizens United did not expressly overrule Beaumont, and because

  Beaumont controls the outcome in this case, defendants’ argument is rejected. Based on the

  continuing validity of Beaumont, this Court is required to find that Section 441b as it relates to

  corporate contributions is a constitutional exercise of Congress’s authority. See also,



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           Defendants invite the Court to distinguish Beaumont on the
           grounds that it involved a non-profit corporation. This distinction
           is without merit. Beaumont determined that Section 441b is
           constitutional as it relates to non-profit corporations. There,
           defendants argued that unlike for-profit corporations, non-profit
           corporations posed no risk of “unfair deployment of wealth for
           political purposes.” It would be nonsensical to decline to follow
           Beaumont on the grounds that the defendant in this case is a for-
           profit corporation. It would lead to the absurd result that non-
           profit corporations (which undoubtedly must follow Beaumont) are
           prohibited from making political contributions, while their for-
           profit counterparts may do so.

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  Danielczyk, 683 F.3d 611 (concluding that corporate contributions can be subjected to different

  regulations than corporate expenditures and finding that the Agostini principle prevents lower

  courts from concluding that the Supreme Court implicitly overruled itself).

                 B. Overbreadth

          Defendants argue that in light of Citizens United, Section 441b is unconstitutionally

  overbroad. According to defendants, the statute defines contributions broadly and is not limited

  to contributions made directly to candidates. Rather, the statute defines contribution as “any

  gift...of money or anything of value made by any person for the purpose of influencing any

  election for Federal office.” As such, the statute criminalizes a “very substantial” portion of

  constitutionally protected speech. In other words, the ban is not limited to direct contributions to

  candidates. Rather, according to defendants, it extends to prohibit “any and all political

  donations by corporations in connection with federal elections–including, apparently, donations

  to pay the costs of candidate forums and debates, voter registration drives, and get-out-the-vote

  efforts.”

          In response, the government argues that the statute is not unconstitutionally overbroad

  because Beaumont is still valid law and, therefore, Congress may prohibit “contributions” under

  Section 441b. The government further argues that contributions involve less First Amendment

  protection because the “expressive function of contributions rests solely on the undifferentiated,

  symbolic act of contributing.” Since the candidate, not the donor, determines the nature of the

  political expression, the “content of the contributor’s political speech is sharply mediated.” The

  government points out that corporations are allowed to establish and subsidize Political Action

  Committees and provide these funds directly to candidates. In addition, the government notes


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  that after Citizens United, corporations are permitted to spend directly on electoral advocacy.

  The government points out that defendants are incorrect that Section 441b prohibits all forms of

  political donations. According to the government, FEC regulations explicitly allow corporations

  to fund candidate debates, get-out-the vote efforts, and voter registration drives.

          Upon review, the Court rejects defendants’ argument that the statute is facially invalid.

  Although the Citizens United addressed a facial attack to Section 441b, the Court held that it was

  addressing “Citizens United’s challenge to Austin and the facial validity of § 441b's expenditure

  ban.” Citizens United, 558 U.S. at 330 (Emphasis added). As set forth above, Citizens United

  left untouched Beaumont’s holding that Congressional prohibitions on corporation contributions

  are permissible. Although Beaumont involved an as-applied challenge, its reasoning extends to

  all corporate contributions. In light of the fact that Citizens United expressly addressed limits on

  corporation expenditures only, defendants fail to convince the Court that the statute’s ban on

  contributions “would chill a substantial amount of activity protected by the First Amendment.”

  Speet v. Schuette, 726 F.3d 867 (6th Cir. 2013). This is especially so because the government

  points out that some of the speech defendants claim is prohibited, is expressly permitted under

  the regulations. See, e.g., 11 C.F.R. 100.81. On the whole, defendants do not develop a record

  or otherwise point to any particular speech, let alone a “substantial” amount of protected speech

  that is chilled by Section 441b’s prohibition on corporate contributions. As such, defendants’

  facial attack fails.

          CONCLUSION

          For the foregoing reasons, Defendant Michael Giorgio’s Motion to Dismiss Counts 1, 2,

  3, 4, 5, and 6 of the Superseding Indictment (Doc. 61) is DENIED.


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          IT IS SO ORDERED.




                                  /s/ Patricia A. Gaughan
                                  PATRICIA A. GAUGHAN
                                  United States District Judge
   Dated: 5/8/14




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